

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-59,754-04






JOSE ALFREDO CAVALIERE, JR., Relator



v.



JUDGE, 179TH DISTRICT COURT, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NUMBERS 874885-B; 874886-B; AND 891143-A

IN THE 179TH DISTRICT COURT OF HARRIS COUNTY






		The order was delivered per curiam.



O R D E R




	This is an original application for a writ of mandamus.  Relator contends he filed
applications for writ of habeas corpus in the 179th District Court in cause numbers
874885-B; 874886-B; AND 891143-A, but more than thirty-five (35) days have elapsed
and the applications have not been forwarded to the Court of Criminal Appeals.  Relator
also contends that the trial court entered orders designating issues on June 29, 2005, and
more than one hundred eighty (180) days have elapsed since the orders were entered.

	It is the Court's opinion that additional information is required before a decision
can be reached on the motion for leave to file the instant action.  The Respondent, Judge
of the 179th District Court of Harris County, is ordered to file with this Court within thirty
(30) days a response by having the district clerk submit the records on such habeas corpus
applications or by setting out the reasons that findings have not been made in the period
since the orders designating issues were entered.  This application for writ of mandamus
is held in abeyance pending compliance with this order.

	IT IS SO ORDERED this the 10th day of May, 2006.


DO NOT PUBLISH



